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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

SILVON S. SIMMONS,

                               Plaintiff,

         -vs-
                                                               STIPULATED PROTECTIVE ORDER
JOSEPH M. FERRIGNO, II, SAMUEL
GIANCURSIO, MARK WIATER, CHRISTOPHER                              Civil Action No. 6:17-cv-6176-MAT
MUSCATO, ROBERT WETZEL, MICHAEL L.
CIMINELLI, JOHN DOES 1-20, CITY OF
ROCHESTER, SHOTSPOTTER, INC., SST, INC.,
JOHN DOES 21-30, and PAUL C. GREENE,

                               Defendants.


         The parties to this action possess certain confidential, private, and/or proprietary

information that may be disclosed to the other parties in this action in response to various

discovery requests discovery requests but that may qualify for protection under Federal Rule of

Civil Procedure 26(c). The parties wish to insure any confidential information produced in this

action shall not be used for any purpose other than this lawsuit and shall not be made public or

be otherwise disseminated except as set forth in this STIPULATED PROTECTIVE ORDER

(“Order”).

         Accordingly, all parties agree, subject to the approval of the Court, the following

procedures shall be employed for the protection of confidential information pursuant to the

Federal Rules of Civil Procedure:

         1.     For purposes of this Order, confidential material is information that (regardless of

how it is generated, stored or maintained) or tangible things that qualify for protection under

Federal Rule of Civil Procedure 26(c).




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         2.     Whenever a producing party produce a document or thing containing information

that it deems to be confidential and which it wishes to be subject to this Order, the producing

party shall mark or otherwise designate the document or thing “CONFIDENTIAL” or shall

stamp the document or thing with a Bates Number and the legend “Subject to Protective Order”

or “CONFIDENTIAL” or a substantially similar legend. Any such stamp and/or legend shall be

placed on each document so as not to render the document unreadable. Further, the Bates

Number and legend shall be placed on the document in such fashion that the language and Bates

Number cannot be excised from the document. All materials so designated are referred to herein

collectively as “Designated Information.”

         (a) If timely corrected, an inadvertent failure to designate confidential material does not,

standing alone, waive the producing party’s right to secure protection under this Order for such

material. Upon timely correction of a designation, any and all receiving parties must make

reasonable efforts to assure that the material is treated in accordance with the provisions of this

Order.

         3.     If any document or thing is marked or designated “CONFIDENTIAL” upon the

first page thereof, the entire document or thing shall be deemed marked “CONFIDENTIAL”

with the exception of transcripts of depositions, responses to interrogatories, and responses to

requests for admissions.          Insofar as concerns transcripts of depositions, responses to

interrogatories, and responses to requests for admissions, the specific page or pages of such

documents      containing    or     disclosing   confidential   information    shall   be    marked

“CONFIDENTIAL” while the pages of such documents not marked as such will not be subject

to this Order. If Designated Information is included or incorporated into a document created

during the course of this litigation (such as a brief or correspondence), the person or party


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creating that new document shall mark any that document as “CONFIDENTIAL” and subject to

the terms of this Order.

         4.    All Designated Information shall be maintained in strict confidence by any

receiving party and, except as otherwise provided herein, used solely in the preparation for trial

of this action. Receiving parties may disclose or permit to be disclosed Designated Information

to any persons, including, without limitation, consultants, experts, or others retained by the

receiving parties, fact witnesses, clients, client representatives and court reporters, provided

however:

               (a)     Access to Designated Information shall be restricted to those persons

required to review or see such information in either the prosecution or defense of this lawsuit;

and

               (b)     The receiving parties and counsel for the receiving parties undertake to

abide and be bound by this Order’s provisions and to use due care to see its provisions are known

and adhered to by those under their supervision or control; and

               (c)     When a receiving party or its attorneys intend to disclose Designated

Information to consultants or experts or others retained by them in the preparation of this case,

that party shall supply each such person receiving the disclosure with a copy of this Order. Each

such person shall execute a written statement under oath, in the form appended hereto as Exhibit

“A”, acknowledging that they are familiar with the provisions of this Order and agree to abide by

them. The receiving party will maintain the original executed written statement with a copy of

this Order attached thereto until the Final Disposition of this litigation, as defined below. At the

Final Disposition of this litigation, the receiving party shall advise the producing party of the




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names of all individuals to whom Designated Information was disclosed and provide producing

party with the original executed written statements referenced above.

         5.     Whenever a deposition taken on behalf of any party hereto involves a disclosure

of Designated Information,

                a)     If present or represented via counsel at the deposition, the producing party

shall designate during the deposition the portion thereof disclosing or containing confidential

information. Such designation shall be made on the record whenever possible.

                b)     Even if present or represented at the deposition, a producing party may

designate portions of the transcripts of depositions as containing confidential information after

transcription, provided that written notice of such designation is promptly given to counsel for

the other parties.

                c)     The pages of the transcript containing or disclosing confidential

information shall themselves be considered Designated Information and shall be subject to the

provisions of this Order.

                d)     The portions of the originals of the deposition transcripts and all copies

thereof shall bear the legend “CONFIDENTIAL” and any portion thereof if filed with the Court

will be submitted to the Court under seal, as described below.

         6.     (a)    In the event counsel for any party determines to file with the Court any

Designated Information or any papers containing or making reference to Designated Information,

such documents or the portions of them containing or disclosing the confidential information or

material will be submitted to the Court for filing under seal, as provided for in the Civil Local

Rules and this District’s Administrative Procedures Guide for Electronic Filing. The Parties may

not file any documents under seal without first obtaining permission from the Court. The Court


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retains discretion to determine whether any document should be sealed regardless of the parties’

designation of the document.

               (b)     If Designated Information is used at trial, before its use the party that

designated that information must be given reasonable opportunity to request that the courtroom

be closed. This Order does not otherwise limit the ability to present Designated Information at

trial. Any Designated Information used at trial shall be returned to the party offering the

Designated Information at the end of the trial. After such return, the provisions of this Order

shall continue to cover the Designated Information.

         7.    If any receiving party believes that a producing party has improperly designated

any material as being subject to this Order, that receiving party shall notify the producing party

in writing of this contention, providing with that notice specific identifying information as to the

document(s) or portion(s) thereof the receiving party believes should not be subject to this Order.

Within twenty-one (21) days of receipt of such written notification, the producing party may

petition the court seeking a declaration that the document or material at issue shall remain

subject to this Order. In any proceedings with respect to any such petition, the burden of

proving the material should be subject to this Order shall be on the producing party. Pending

resolution by the court of any such motion or petition, the material at issue will remain subject to

this Order. If the producing party does not within twenty-one (21) days of receipt of the

aforementioned written notification file the aforementioned petition, the material at issue will no

longer be subject to this Order.

         8.    Nothing in this Order is a waiver of the objection to discovery that confidential

documents are not discoverable on the basis of being confidential and/or containing private,




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proprietary, or trade secret information. Nor shall anything in this Order preclude a party from

seeking protection from discovery on other grounds.

         9.    Neither this Order nor the production of material in this action waives any claim

of attorney/client privilege or attorney work product protection that might exist with respect to

these or any other material or communications, written or oral, including, without limitation,

other communications referred to in any documents a party may produce.

         10.   All receiving parties shall securely maintain all Designated Information received

by them in this litigation shall be securely maintained. Distribution of or access to any such

confidential information shall occur only in strict accordance with the terms of this Order.

         11.   Within sixty (60) days after “Final Disposition” of this litigation, receiving parties

shall either (a) return to producing party all Designated Information or (b) securely destroy all

Designated Information. Notwithstanding this provision, counsel (but not the receiving parties

themselves) are entitled to retain an archival copy of all pleadings, motion papers, trial,

deposition, and hearing transcripts, legal memoranda, correspondence, deposition and trial

exhibits, expert reports, attorney work product, and consultant and expert work product, even if

such materials contain Designated Information. Any such archival copies that contain or

constitute Designated Information remain subject to this Order. Final Disposition shall be

deemed to be the later of (1) dismissal of all claims and defenses in this action, with or without

prejudice; and (2) final judgment herein after the completion and exhaustion of all appeals,

rehearings, remands, trials, or reviews of this action, including the time limits for filing any

motions or applications for extension of time pursuant to applicable law.




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         12.   All persons bound by this Order shall not sell, offer, advertise, publicize or

provide under any condition confidential information disclosed by a producing party in this

litigation.

         13.   All persons reviewing or receiving confidential information subject to this Order

agree to the exercise of personal and subject matter jurisdiction of the United States District

Court for the Western District of New York, for the purpose of any and all actions seeking to

enforce the terms and conditions of this Order or for contempt or requesting sanctions for

violation of the terms of this Order.

         14.   This Order may not be waived, modified, abandoned, or terminated, in whole or

part, except by an instrument in writing signed by the parties. If any provision of this Protective

Order shall be held invalid for any reason whatsoever, the remaining provisions shall not be

affected thereby.

         15.   After Final Disposition, the provisions of this Order shall continue to be binding.

This Court retains and shall have jurisdiction over the parties and recipients of the Designated

Information for enforcement of the provisions of this Order following Final Disposition.

         16.   This Order shall be binding upon the parties hereto, upon their attorneys, and

upon the parties’ and their attorneys’ successors, executors, personal representatives,

administrators, heirs, legal representatives, assigns, subsidiaries, divisions, employees, agents,

independent contractors, or other persons or organizations over which they have control.




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DATED:         April 8, 2020

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                                                      Email: bkleinman@kilpatricktownsend.com




SO ORDERED
                                                     Hon. Marian W. Payson
                                                     U.S. Magistrate Judge

ENTERED         April 8, 2020




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                                           EXHIBIT “A”

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

SILVON S. SIMMONS,

                              Plaintiff,

         -vs-
                                                               AGREEMENT TO BE BOUND BY
                                                                  PROTECTIVE ORDER
JOSEPH M. FERRIGNO, II, SAMUEL
GIANCURSIO, MARK WIATER, CHRISTOPHER
                                                                   Civil Action No. 6:17-cv-6176-MAT
MUSCATO, ROBERT WETZEL, MICHAEL L.
CIMINELLI, JOHN DOES 1-20, CITY OF
ROCHESTER, SHOTSPOTTER, INC., SST, INC.,
JOHN DOES 21-30, and PAUL C. GREENE,

                              Defendants.


                                            EXHIBIT A

             PROMISE OF CONFIDENTIALITY AND AGREEMENT TO BE BOUND

The undersigned hereby promises and agrees as follows for good and adequate consideration:

    1. I have been provided with a copy of the Stipulated Protective Order (“Protective Order”)
       in the above captioned lawsuit which is pending in the United States District Court for
       the Western District of New York.

    2. I agree to comply with the terms of the Protective Order.

    3. I shall not disclose, copy, reproduce, or disseminate to any person or organization any
       information, documents or information contained in such documents provided to me that
       are subject to the Protective Order.

    4. I shall not use any such information, documents or information contained in such
       documents other than as permitted in the Protective Order and only to the extent
       reasonably necessary to provide assistance or evidence relevant to the above-mentioned
       lawsuit.

    5. I will return all documents, copies and all quotations or summaries of factual information
       reflected in documents that are subject to the Protective Order and/or designated or
       marked “CONFIDENTIAL” upon the conclusion of the lawsuit and/or immediately upon
       request of the attorney who provided it to me, whichever occurs first.
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                                            ______________________________
                                            Signature

                                            ______________________________
                                            Print Name

                                            ______________________________
                                            Address

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                                             Email

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                                            Telephone




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